
David L. Lillehaug, Associate Justice
The Director of the Office of Lawyers Professional Responsibility has filed a petition for disciplinary action alleging that respondent Douglas E. Nepp has committed professional misconduct warranting public discipline-namely, as one of the two partners in a law firm, failing to ensure the maintenance of all required trust account books and records, resulting in shortages in the trust account and negligent misappropriation of client funds. See Minn. R. Prof. Conduct 1.15(a), 1.15(c)(3), and 1.15(h), as interpreted by Appendix 1 thereto, and 5.1(a).
Respondent and the Director have entered into a stipulation for discipline. In it, respondent waives his procedural rights under Rule 14, Rules on Lawyers Professional Responsibility (RLPR), and unconditionally admits the allegations of the petition. The parties jointly recommend that the appropriate discipline is a public reprimand followed by 2 years of probation.
This court has independently reviewed the file and approves the jointly recommended disposition.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED THAT:
*7571. Respondent Douglas E. Nepp is publicly reprimanded.
2. Respondent shall pay $900 in costs pursuant to Rule 24(a), RLPR.
3. Respondent is placed on probation for 2 years, subject to the following terms and conditions:
a. Respondent shall cooperate fully with the Director's Office in its efforts to monitor compliance with this probation. Respondent shall promptly respond to the Director's correspondence by its due date. Respondent shall provide to the Director a current mailing address and shall immediately notify the Director of any change of address. Respondent shall cooperate with the Director's investigation of any allegations of unprofessional conduct that may come to the Director's attention. Upon the Director's request, respondent shall provide authorization for release of information and documentation to verify compliance with the terms of this probation.
b. Respondent shall abide by the Minnesota Rules of Professional Conduct.
c. Respondent shall maintain law office and trust account books and records in compliance with Minn. R. Prof. Conduct 1.15 and Appendix 1. The trust account books and records shall include the following: client subsidiary ledgers; checkbook registers; monthly trial balance reports; monthly reconciliation reports; bank statements; canceled checks; duplicate deposit slips; bank reports of interest, service charges, and interest payments to the Minnesota IOLTA Program; and bank wire, electronic, or telephone transfer confirmations. Such books and records shall be made available to the Director within 30 days from the filing of this order and thereafter shall be made available to the Director at such intervals as the Director deems necessary to determine compliance.
